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UN|TED STATES D|STR|CT COURT
MlDDLE D|STR|CT OF FLOR|DA
JACKSONV|LLE D|VlS|ON
RACHEL WEXLER,
P|aintiff,
v. Case No: 3:14-cv-725-J-39PDB
SAFETOUCH, |NC.,

Defendant.
l

ORDER OF D|SM|SSAL

This matter is before the Court on the Joint Stipulation for Dismissal With Prejudioe
(Doo. No.13; Stipu|ation) filed on December 26, 2014. ln the Stipulation, the parties state
that they agree to the dismissal of this case With prejudice § Stipu|ation at 1.
Accordingly, it is hereby

ORDERED:

1. This case is D|SM|SSED with prejudice.

2. Each party shall bear its own costs and fees.

3. The Clerk of the Court is directed to terminate all pending motions and close
the file. d

C'~i
DONE and ORDERED in Jacksonville, Florida this 2 1 day of December, 2014.

BRiAN J. DAvis ""

United States District Judge

 

Copies to:
Counse| of Reoord

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